Case 3:17-cv-00891-TJC-MCR Document 77 Filed 10/28/19 Page 1 of 2 PageID 1004



                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


    MICHAEL MCEVOY, on behalf of
    himself and others similarly
    situated,

          Plaintiff,

    v.                                            Case No. 3:17-cv-891-J-32MCR

    APOLLO GLOBAL
    MANAGEMENT, LLC, a Delaware
    limited liability company, APOLLO
    MANAGEMENT VI, L.P., a
    Delaware limited partnership, and
    CEVA GROUP, PLC,

          Defendants.




                               NOTICE OF HEARING

          TAKE NOTICE that this case is hereby SET for an in-person HEARING

    on Apollo Defendants’ Motion to Dismiss (Doc. 54) and CEVA Group Plc’s

    Motion to Dismiss the Class Action Complaint (Doc. 55) on December 3, 2019

    at 10:00 AM before the Honorable Timothy J. Corrigan, United States District

    Judge, in the United States Courthouse, Courtroom 10D, 300 North Hogan

    Street, Jacksonville, Florida.1


          1All persons entering the Courthouse must present photo identification
    to Court Security Officers. Although cell phones, laptop computers, and similar
Case 3:17-cv-00891-TJC-MCR Document 77 Filed 10/28/19 Page 2 of 2 PageID 1005



          DATED this 28th day of October, 2019.


                                             TIMOTHY J. CORRIGAN
                                             United States District Judge

                                             By: /s/Susan Jacoby
                                             Susan Jacoby
                                             Law Clerk
                                             (904) 549-1300

    Copies to:
    Counsel of record




    electronic devices are not generally allowed in the building, counsel are
    permitted to bring those items with them upon presentation to Court Security
    Officers of a Florida Bar card or Order of special admission pro hac vice.


                                         2
